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                                               365                                    ATDANVILLE.VA
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                                                                                    JUL 2S 2013
                           IN TH E UNITED STATES DISTRICT COURT                  JUL C.D       EM CLE
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UN ITED STA TES O F A M ER ICA                )         Crim inalA ction N o.4:09-cr-00024-2
                                              )
V.                                            )         12255 M EM ORANDUM OPINION
                                              )
W ILLIA M A LO N ZO TA Y LO R ,               )         By:   H on.Jackson L.K iser
      Petitioner.                             )               SeniorUnited StatesDistrictJudge

        W illinm AlonzoTaylor,afederalinmateproceedingpro se,filed am otion to vacate,set

aside,orcorrectsentence,ptlrsuantto28U.S.C.j2255.Thismatterisbeforemefor
preliminaryreview,pursuanttoRule4oftheRulesGoverningj2255Proceedings.After
reviewingtherecord,1dism issthem otion asuntim ely filed.

                                                  1.

        On N ovem ber 30,2010,1sentenced petitionerto,interalia,87 m onths'incarceration for

one countofdistributing morethan tivegram sofcocainebase,in violation of21U .S.C.

j841(a)(1).Petitionerdidnotappeal,andhefiledtheinstantmotiononJune13,2013.The
courtconditionally filedthem otion,advised him thatthemotion appeared untim ely,and gave

him theopportunityto explain whythecourtshould considerthem otion timely tiled. Petitioner

arguesthatthej2255motionistimelyfiledbecauseofAllevnev.UnitedStates,No.11-9335,
     U .S.   -   ,   133S.Ct.2151(2013),andbecauseineffectiveassistanceofcounselclaims
cnnnotbe raised on directappeal.

                                                  Il.

       Courtsand the public can prestlm e thata defendantstandsfairly and finally convicted

afterconviction and exhaustion,orwaiver,of any rightto appeal. U nited States v.Fradv,456

U.S.152,164 (1982).Nonetheless,federalconvictsincustodymay attackthevalidityoftheir
federalsentencesbyfilingamotion,pursuantto28U.S.C.j2255,withintheone-yearstatuteof
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limitations.Thisone-yearperiodbeginstorunfrom thelatestof:(1)thedateonwhichthe
judgmentofconviction becomesfinal;(2)thedateonwhichtheimpedimenttomakingamotion
created by govermnentalaction in violation oftheConstitution orlaw softheUnited Statesis

removed,ifthemovantwaspreventedfrom makingamotionby suchgovernmentalaction'
                                                                          ,(3)
thedateon which therightasserted wasinitially recognized by the Suprem e Courq ifthatright

hasbeen newlyrecognized by the Suprem eCourtand maderetroactively applicableto caseson

collateralreview;or(4)thedateonwhichthefactssupportingtheclaim orclaimspresented
couldhavebeendiscoveredthroughtheexerciseofduediligence.28U.S.C.j225549.
       Petitioner'scriminaljudgmentbecamefinalinDecember2010whenthetimeexpiredfor
petitionerto filean appealto theCourtofAppeals. SeeUnited Statesv.Clav,537U .S.522,524

(2003)(statingaconvictionbecomesfinaloncetheavailabilityofdirectreview isexhausted).
Accordingly,forpuzposesofj2255(9(1),petitionerhaduntilDecember2011totimelyfilehis
j2255motion,buthedidnotfiletheinstmltmotionuntilJune2013.SeeRule3,R.Gov.
j2255Proceedings(discussingtheprison-mailboxnzleforj2255motions).
       Petitionerarguesthathismotion should beconsidered timely filed becauseAllevne

triggersthefilingperiod.1 See28 U S.C.j225549(3)(allowingthelimitationsperiodto starton
                                      .




the date on the Suprem eCourtinitially recognized the specificrightifthatrightretroactively

appliesto j2255proceedings).TheCourtheldinAllevnethatanyfactthatincreasesthe
applicablem andatory minimum sentenceisan dfelement''oftheoffensethatmustbe subm itted to

thejury,buttheCourtrecognizedthatnotevery factthatimpactsjudicialdiscretioninfixinga
sentencemustbefoundbyajury.

1Petitioner'sgeneralargumentthatthepetition istimely becauseineffectiveassistanceofcounselclaimscannotbe
raisedonappealdoesnotrelateto j2255(9 andismeritless.
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       Allevne doesnotapply topetitioner'scase.Although petitioner'sbaseoffenselevel

increased by tw o points forpossessing a firearm during the crim e,ptzrsuantto United States

SentencingGuidelinej2D1.1(b)(1),nofactincreasedthestatutorymandatoryminimtzm that
applied to petitioner.

       Equitable tolling isavailableonly in ttthoserareinstanceswhere - dueto circtunstances

externalto theparty'sown conduct- itwould beunconscionableto enforce thelim itation period

againstthepartyand grossinjusticewouldresult.''Rousev.Lee,339F.3d238,246(4thCir.
2003)(enbanc)(internalquotationmarksomitted)(citingHarrisv.Hutchinson,209F.3d325,
330(4thCir.2000:.Thus,apetitionermusthaveEtbeenptlrsuinghisrightsdiligently,and...
som eextraordinary circumstance stood in hisway''topreventtim elyfiling. Hollandv.Florida,

    U .S.   -   ,   130S.Ct.2549,2560(2010).1donotlindanyextraordinarycircumstancesinthe
recordthatpreventedpetitionerfrom filingatimely j2255motion.Seeee.g.,United Statesv.
Sosa,364F.3d507,512(4thCir.2004)(notingprosestatusandignoranceofthe1aw doesnot
justifyequitabletolling);Turnerv.Johnson,177F.3d 390,392 (5thCir.1999)(notingthat
unfamiliaritywith the1aw duetoilliteracyornro sestatusdoesnottolllimitationsperiod).
Accordingly,Ifindthatpetitionerfiledhisj2255motionbeyondtheone-yearstatuteof
limitations,petitionerisnotentitled to equitabletolling,arld thepetition m ustbedism issed.

                                              111.

       Fortheforegoingreasons,petitioner's28U.S.C.j2255motion isdismissedastmtimely
filed,pttrsuanttoRule4oftheRulesGovemingj2255Proceedings.Baseduponmytinding
thatthe petitionerhas notm ade the requisite substantialshow ing ofa denialofa constitutional

rightasrequiredby28U.S.C.j2253(Q ,acertitkateofappealabilityisdenied.
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      TheClerk isdirected to send copiesofthisM emorandtlm Opinion and theaccompanying

Ordertopetitionerand counselofrecord fortheUnited States.

      ENTER:This         $ayofJuly,2013.

                                                            orUnited StatesD istrictJudge




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